










Opinion issued June 17, 2004











In The
Court of Appeals
For The
First District of Texas




NO. 01–04–00058–CV




IN RE DAN THOMAS AND EFREN MARTINEZ, Relators




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelators Dan Thomas and Efren Martinez have neither established indigence,
nor paid all the required fees.  See Tex. R. App. P. 5 (requiring payment of fees in
civil cases unless indigent), 20.1 (listing requirements for establishing indigence); see
also Tex. Gov’t Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon Supp. 2004)
(listing fees in court of appeals); Fees Civ. Cases B(1), (3) (listing fees in court of
appeals).  After being notified that this mandamus proceeding was subject to
dismissal, relators Dan Thomas and Efren Martinez filed a motion for leave to extend
time to file an affidavit of indigence.  We struck the motion because it did not comply
with the Texas Rules of Appellate Procedure 9.5(d), and set a deadline of May 10,
2004 at 2:00 p.m. for relators to file a conforming motion.  The deadline has passed
and relators have not filed a conforming motion.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, the mandamus proceeding is dismissed for non-payment of all
required fees.  Tex. R. App. P. 5.  All pending motions are denied.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Nuchia and Higley.


